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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION


WSOU INVESTMENTS, LLC d/b/a BRAZOS
LICENSING AND DEVELOPMENT,                Case No. 6:20-cv-00473-ADA

           Plaintiff,
                                          JURY TRIAL DEMANDED
     v.

DELL TECHNOLOGIES INC., DELL INC.,
AND EMC CORPORATION,

           Defendants.



        DECLARATION OF BRIAN A. ROSENTHAL IN SUPPORT OF
DEFENDANTS’ OPPOSED MOTION FOR INTRA-DISTRICT TRANSFER OF VENUE
     TO THE AUSTIN DIVISION OF THE WESTERN DISTRICT OF TEXAS
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I, Brian A. Rosenthal, declare as follows:

        1.       I am an attorney permitted to practice law before this Court pro hac vice and am

licensed to practice law in New York and the District of Columbia. I am a partner with the law

firm of Gibson, Dunn & Crutcher LLP and counsel of record for Defendants Dell Technologies

Inc., Dell Inc., and EMC Corporation in the above-captioned action. I have personal knowledge

and/or am directly informed of the matters stated below and, if called, would testify to them under

oath.

        2.       Attached hereto as Exhibit 1 is a true and correct copy of the entity details for

WSOU         Investments,   LLC    obtained   by       searching   for   “WSOU   Investments”    at

https://icis.corp.delaware.gov/ecorp/entitysearch/NameSearch.aspx on November 3, 2020.

        3.       Attached hereto as Exhibit 2 is a true and correct copy of assignment Real/Frame

045085/0001, retrieved from the United States Patent Office’s website (http://legacy-

assignments.uspto.gov/assignments/assignment-pat-45085-1.pdf) on November 4, 2020.

        4.       Attached hereto as Exhibit 3 is a true and correct copy of assignment Real/Frame

044000/0053, retrieved from the United States Patent Office’s website (http://legacy-

assignments.uspto.gov/assignments/assignment-pat-44000-53.pdf) on November 3, 2020.

        5.       Attached hereto as Exhibit 4 is a true and correct copy of the LinkedIn Profile of

Stuart A. Shanus, retrieved from LinkedIn’s website (https://www.linkedin.com/in/stuart-a-s-

60a7695/) on November 3, 2020.

        6.       Attached hereto as Exhibit 5 is a true and correct copy of the LinkedIn Profile of

Craig Etchegoyen, retrieved from LinkedIn’s website (https://www.linkedin.com/in/craig-

etchegoyen-aa8a07199/) on November 3, 2020.




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        7.    Attached hereto as Exhibit 6 is a true and correct copy of the website

http://www.wadeandcompany.com/#contact, retrieved on November 3, 2020.

        8.    Attached hereto as Exhibit 7 is a true and correct copy of an article titled “AQUA

Licensing to Manage Sale of Second Large Portfolio of Former Nokia and Alcatel-Lucent

Telecommunications     Patents,”   obtained   from   https://www.businesswire.com/news/home/

20180207005651/en/AQUA-Licensing-to-Manage-Sale-of-Second-Large-Portfolio-of-Former-

Nokia-and-Alcatel-Lucent-Telecommunications-Patents on November 3, 2020.

        9.    Attached hereto as Exhibit 8 is a true and correct copy of the website

https://www.brazoslicensing.com/about, retrieved on November 3, 2020.

        10.   Attached hereto as Exhibit 9 is a true and correct copy of a document titled “Dell

EMC SmartFabric OS10 Switch Configuration Guide for VxRail 4.7,” obtained from

https://downloads.dell.com/Manuals/Common/Dell_EMC_VxRail_47_OS10_Switch_Configurat

ion_Guide_August_2019.pdf on November 4, 2020.

        11.   Attached hereto as Exhibit 10 is a true and correct copy of the locations from the

D&B Hoovers report for Broadcom Inc., obtained from https://www.dnbi.com, on November 4,

2020.

        12.   Attached hereto as Exhibit 11 is a true and correct copy of an excerpt from the file

history of U.S. Patent No. 9,137,144, specifically the October 19, 2012 Communication – Re:

Power of Attorney. This excerpt was retrieved from the United States Patent Office’s website

(https://portal.uspto.gov/pair/PublicPair) on November 4, 2020.

        13.   Attached hereto as Exhibit 12 is a true and correct copy of flights from Camarillo,

California to Austin, Texas and from Camarillo, California to Waco, Texas obtained from the

website Google Flights (https://www.google.com/flights), on November 3, 2020.



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       14.    Attached hereto as Exhibit 13 is a true and correct copy of the website

https://assignment.uspto.gov/patent/index.html#/patent/search/resultAbstract?id=9137144&type

=patNum, retrieved on November 3, 2020.

       15.    Attached hereto as Exhibit 14 is a true and correct copy of flights from Newark,

New Jersey to Austin, Texas and from Newark, New Jersey to Waco, Texas obtained from the

website Google Flights (https://www.google.com/flights), on November 3, 2020.

       16.    Attached hereto as Exhibit 15 is a true and correct copy of the price graph of flights

from Paris, France to Austin, Texas and from Paris, France to Waco, Texas obtained from the

website Google Flights (https://www.google.com/flights), on November 3, 2020.

       17.    Attached hereto as Exhibit 16 is a true and correct copy of flights from San

Francisco, California to Austin, Texas and from San Francisco, California to Waco, Texas obtained

from the website Google Flights (https://www.google.com/flights), on November 3, 2020.

       18.    Attached hereto as Exhibit 17 is a true and correct copy of U.S. Patent No.

9,049,137 obtained from https://patents.google.com/ on November 4, 2020.

       19.    Attached hereto as Exhibit 18 is a true and correct copy of the website

https://careers.google.com/locations/austin/, retrieved on November 4, 2020.

       20.    Attached hereto as Exhibit 19 is a true and correct copy of flights from Los

Angeles, California to Austin, Texas and from Los Angeles, California to Waco, Texas obtained

from the website Google Flights (https://www.google.com/flights), on November 3, 2020.

       21.    Attached hereto as Exhibit 20 is a true and correct copy of flights from Kailua-

Kona, Hawaii to Austin, Texas and from Kailua-Kona, Hawaii to Waco, Texas obtained from the

website Google Flights (https://www.google.com/flights), on November 3, 2020.

       I declare under penalty of perjury that the foregoing is true and correct.



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Dated: November 4, 2020
                                   /s/ Brian A. Rosenthal___
                                   Brian A. Rosenthal




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